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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


                                   )
UNITED STATES OF AMERICA           )
                                   )
          v.                       ) CRIMINAL NO. 05-10262-PBS
                                   )
SROUCH KHUT,                       )
               Defendant.          )
                                   )

                         MEMORANDUM AND ORDER

                               June 4, 2007

Saris, U.S.D.J.

     Defendant Srouch Khut, charged with drug trafficking and

firearms offenses, moves to suppress evidence seized on August

21, 2005 from a residence at 135 Cross Street in Lowell,

Massachusetts.    The government witnesses were Detective William

J. Samaras, Jr. and Sergeant James Trudell of the Lowell Police

Department.    After a one-day evidentiary hearing and review of

the briefs, the motion is ALLOWED.

                            I. FINDINGS OF FACT

A.   The Backdrop

     In February of 2005, a confidential source provided

information to the Lowell Police Department that Sophoan Oung

(“Hershey”) and his brother, Sophanara Oung (“Bee”), were

trafficking in cocaine in the Lowell area.         Working with local

police, the Drug Enforcement Agency (“DEA”) set up surveillance

of the Oungs, and the federal court authorized wiretaps on both

their cell phones.    The defendant, Srouch Khut, was a customer.
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     On the night of August 20, police learned over the wire that

Bee had discovered undercover officers tailing his car after a

drug buy.         The Oung brothers, who now suspected they were the

target of an investigation, discussed fleeing and hiding or

destroying evidence.           Hearing this over the wire, the police

decided to truncate the investigation and intervene.                The police

entered Hershey’s girlfriend’s house without a warrant.                 In quick

succession, Hershey and Bee were arrested and their apartment was

entered and searched, again without a warrant.               Later, after

search warrants had been obtained, police discovered firearms,

ammunition, and substantial quantities of cocaine and cocaine

base.        Detective Samaras participated in the takedown of the

Oungs.1

B.   134 Cross Street

        Earlier on August 20, before the events of the evening began

to unfold, a confidential source (“CS”) made plans with defendant

Khut to purchase two ounces of cocaine the next day.                The CS had

made six previous controlled buys from the defendant.                During one

of these buys, the CS told police that Khut carried a gun and had

mentioned that he (Khut) wasn’t afraid to shoot someone.                 The

police were aware that the defendant had served time for armed

home invasion and was heavily involved in local gang activity.

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      This Court ruled on Hershey and Bee’s motion to suppress
evidence seized during these searches. See United States v. Oung,
2007 US Dist. Lexis 28823 (D. Mass Apr. 19, 2007). This
discussion assumes familiarity with the facts of that decision.

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     Around noon on August 21, a Sunday, Detective Samaras had

the CS attempt to contact Khut on his cell phone.         Khut did not

answer and, unlike the previous buys, Khut did not return the

calls within the hour.    Although Khut had not set a time for the

sale, previous transactions had taken place in the early

afternoon.   Samaras became worried that Khut had learned of the

arrests of his cohorts and would attempt to flee.         Around 1 p.m.,

Samaras made the decision to go to 135 Cross Street, Unit 4 to

arrest Khut.    The police did not know if Khut was in the

apartment at the time, but he frequently stayed there, and five

previous controlled buys had taken place in the apartment.             The

police made no effort to get an arrest warrant.

     Around 2 p.m., the police arrived at 135 Cross Street.            They

wore raid vests and had their badges prominently displayed.

Another resident let the team in through the apartment building’s

front door and into the common hallway.       The mail/call boxes

listed a person by the name of Khut as residing in Unit 6.

     The team immediately went to Unit 4 on the second floor of

the building.    Lieutenant Richardson knocked and announced

“Police” several times, but no one answered.        DEA Special Agent

Christian Brackett then went upstairs to Unit 6, showed an

unidentified individual Khut’s picture, and asked if Khut lived

in the unit.    The person stated that Khut lived downstairs, in




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Unit 4, and that “he should be there now.”2           Brackett yelled down

to the police at the door, “He’s home!”           The police continued

knocking.

     About a minute had passed from when the team first knocked

and announced “Police” at Unit 4.          Concerned that the inhabitants

would destroy drugs, arm themselves, or flee, the team rammed the

door down, entered with guns drawn, and announced their presence.

They came upon Khut and his girlfriend, Sambath                , asleep and

undressed in the bedroom.         Eleven officers were in the apartment.

     The police saw in plain view on the bedroom nightstand a

small quantity of cocaine.         The officers confiscated the drugs,

and performed a brief protective sweep.           Then, Detective Samaras

left to obtain a search warrant for the premises.             When he

returned with a warrant 2-3 hours later, the officers searched

the apartment.       Ten small bags of crack cocaine were found in a

cigarette box in the bedroom.

                               II.   DISCUSSION

A.   Warrantless Entry and Exigent Circumstances

     “[T]he Constitution normally requires the police to obtain

an arrest warrant before entering a person’s home to make an

arrest.”      United States v. Beltran, 917 F.2d 641, 642 (1st Cir.

1990) (citing Payton v. New York, 445 U.S. 573, 590 (1980)).               A

warrantless entry into a suspect’s home is thus “presumptively

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     The basis for the neighbor’s belief that Khut was inside
the apartment is unknown.

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unreasonable.”       United States v. Samboy, 433 F.3d 154, 158 (1st

Cir. 2005) (citing Payton, 445 U.S. at 586).            To overcome this

presumption, the government must “prove that the initial search

came within some recognized exception to the Fourth Amendment

warrant requirement.”        United States v. Tibolt, 72 F.3d 965, 969

(1st Cir. 1995).       “The circumstances which excuse failure to

obtain a warrant are ‘few in number and carefully delineated.’”

United States v. Curzi, 867 F.2d 36, 41 (1st Cir. 1989) (quoting

United States v. U.S. District Court, 407 U.S. 297, 318 (1972)).

     “Nevertheless, a warrantless entry into a person’s dwelling

may be permitted if ‘exigent circumstances’ arise.”             Samboy, 433

F.3d at 158.3      Although exigency determinations invariably are

fact-intensive, exigent circumstances commonly include:

     (1) ‘hot pursuit’ of a fleeing felon; (2) threatened
     destruction of evidence inside a residence before a
     warrant can be obtained; (3) a risk that the suspect may
     escape from the residence undetected; or (4) a threat,
     posed by a suspect, to the lives or safety of the public,
     the police officers, or to an occupant.

Tibolt, 72 F.3d at 969 (citations, alterations and internal

quotation marks omitted).         “To show exigent circumstances, the

police must reasonably believe that ‘there is such a compelling

necessity for immediate action as will not brook the delay of

obtaining a warrant.’”        Samboy, 433 F.3d at 158 (quoting Fletcher

v. Town of Clinton, 196 F.3d 41, 49 (1st Cir. 1999)).



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     The parties agree that the government had probable cause to
arrest Khut based on the previous controlled buys.
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       Further, “[p]roof of exigent circumstances ‘should be

supported by particularized, case-specific facts, not simply

generalized suppositions about the behavior of a particular class

of criminal suspects.’”      Id. (citation omitted).       In evaluating a

claimed exigency, a court’s “inquiry is limited to the objective

facts reasonably known to, or discoverable by, the officers at

the time of the search.”      Tibolt, 72 F.3d at 969 (citing Illinois

v. Rodriguez, 497 U.S. 177, 186 (1990)).         The government bears

the “heavy burden” of proving exigent circumstances capable of

overriding the Fourth Amendment’s warrant requirement.            Welsh v.

Wisconsin, 466 U.S. 740, 749-50 (1984); see Samboy, 433 F.3d at

158.

B.   Manufactured Exigency

       Moreover, “[c]ircumstances deliberately created by the

police themselves cannot justify a warrantless search.”            United

States v. Curzi, 867 F.2d 36, 43 n.6 (1st Cir. 1989); see United

States v. Martins, 413 F.3d 139, 148 (1st Cir. 2005) (“[L]aw

enforcement officers may not manipulate events to create an

emergency and bootstrap that invented emergency into a

justification for a warrantless entry of a person’s home.”).             One

way in which officers impermissibly “manufacture” an exigency is

by choosing not to procure a warrant for a “fully anticipated”

search or entry.     See Niro v. United States, 388 F.2d 535, 539-40

(1st Cir. 1968).     An assertion of exigent circumstances cannot

“excuse the failure to secure a warrant when those circumstances
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are created by government officials who unreasonably and

deliberately delay or avoid obtaining the warrant.”         United

States v. Rengifo, 858 F.2d 800, 804 (1st Cir. 1988) (citations

omitted).

     The First Circuit has made clear that “no exigent

circumstances exist when ‘the police fully expect that they may

have to enter a home to make an arrest in the near future and . .

. they have more than enough time and knowledge to secure a

warrant.”   Samboy, 433 F.3d at 159 (quoting Beltran, 917 F.2d at

643 (no exigent circumstances where police knew for approximately

three hours before they arrested the defendant that they were

likely to do so, had an adequate basis for obtaining a warrant,

and could have obtained one)); see also Curzi, 867 F.2d at 43

(where agents “set the timetable” for arrests, had two hours to

obtain a warrant but did not, and there was no specific evidence

that suspects had detected surveillance, exigent circumstances

were not present).

     Courts must “distinguish between cases where exigent

circumstances arise naturally during a delay in obtaining a

warrant and those where officers have deliberately created the

exigent circumstances.”     United States v. Maldonado, 472 F.3d

388, 396 (5th Cir. 2006).     Courts have stated that

     [i]n determining whether the exigent circumstances were
     manufactured by the agents, we must consider not only
     the motivation of the police in creating the exigency
     but also the reasonableness and propriety of the
     investigative tactics that generated the exigency. We
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     look to whether (1) there was sufficient time to secure
     a warrant; and (2) whether the exigency was created by
     unreasonable law enforcement tactics.

Id.; see also Samboy, 433 F.3d at 159.        If the police have ample

time to procure a warrant and probable cause to do so, but

nevertheless choose to go without, they may not rely on exigent

circumstances of their own making to cure an otherwise

unconstitutional entry into a suspect’s home.

C.   135 Cross Street

     Here, the police had a probable cause before August 20 to

arrest Khut because several controlled buys had taken place.

However, “[t]here is no legal rule requiring the police to seek a

warrant as soon as probable cause likely exists to seek a

warrant.”   Samboy, 433 F.3d at 160.      Thus, the first question is

whether the government has proven that there were exigent

circumstances to justify a warrantless entry into the Cross

Street apartment to arrest the defendant when he did not answer

his cell phone for about an hour on August 21.

      The government argues that it reasonably feared that Khut’s

failure to return the CS’s phone calls indicated that he had

learned of his cohorts’ arrests the night before.          There is no

evidence from the wiretap that Khut knew about the arrest, and a

one-hour delay between the cell phone calls and the entry, while

worrisome, was not sufficient to create an exigency sufficient to

justify a warrantless incursion into Khut’s home.          The evidence

was that prior transactions had occurred in the early afternoon
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and it was still only 1:00 p.m.      See United States v. Torres, 274

F. Supp. 2d 146, 156 (D.R.I. 2003) (explaining that “‘[i]n

narcotics cases in particular, [the First Circuit] and other

courts have consistently found exigent circumstances to exist

where there is specific evidence that a supplier of drugs has

either detected police surveillance, or is acting nervously, or

is expecting his confederate to return at a particular time and

would therefore likely flee or dispose of the evidence if his

arrested confederate did not return promptly’” (quoting United

States v. Hidalgo, 747 F. Supp. 818, 826 (D. Mass. 1990)

(collecting cases))).    To justify a warrantless entry, an

assertion of exigency must be grounded in “more than merely a

subjective fear by government agents” that, for example, a

defendant will flee or evidence will be lost.        Id. at 155; see

also United States v. Veillette, 778 F.2d 899, 902 (1st Cir.

1985) (directing courts to inquire, inter alia, “whether there is

a great likelihood that evidence will be destroyed if there is a

delay until a warrant can be obtained”) (emphasis in original).

The police pressed the panic button prematurely.

     Next, the government argues that once the police announced

their presence and learned that Khut was inside Unit 4, they

reasonably feared that the defendant would destroy evidence.

However, investigating officers may not create exigent

circumstances by choosing not to get a warrant, making their

presence known by knocking-and-announcing, and then claiming that

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a warrantless search is necessary to avoid destruction of

evidence.   See United States v. Chambers, 395 F.3d 563, 566 (6th

Cir. 2005) (no exigent circumstances where “warrantless entry

became a foregone conclusion once officers knocked” on door of

suspected meth lab without attempting to procure warrant

beforehand); United States v. Richard, 994 F.2d 244, 249 (5th

Cir. 1993) (“exigency” manufactured where agents only suspected

defendant was in motel room, didn’t know what evidence the room

might contain, and the threat of destruction to evidence “did not

arise until agents announced themselves” without first attempting

to get a warrant).

     True, courts have upheld the practice of “knock and talk” --

a tactic in which an officer knocks on a suspect’s door,

“identifies himself[,] asks to talk to the home occupant and then

eventually requests permission to search the residence” -- as a

legitimate means to obtain a suspect’s consent to search.           United

States v. Zertuche-Tobias, 953 F. Supp. 803, 829 (S.D.Tex. 1996);

see United States v. Thomas, 430 F.3d 274, 277 (6th Cir. 2005)

(collecting “knock and talk” cases and noting that federal courts

have recognized the practice as a reasonable investigative tool

when officers seek to gain an occupant’s consent to a search).

Here, however, the government did not arrive at Mr. Khut’s home

for the purpose of initiating a “knock and talk” to gain consent

to search; their intent was to arrest the defendant.          Thus, this

is not a case in which the police lawfully approached a suspect’s

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door to perform a “knock and talk” investigation because they

lacked probable cause for a warrant, and only thereafter were

confronted by an exigency created by a suspect’s own conduct.

See, e.g., United States v. Jones, 239 F.3d 716, 721 (5th Cir.

2001) (entry justified because officers did not create exigent

circumstance by initiating “knock and talk” investigation at

defendant’s door where officer’s had no probable cause to obtain

a warrant and gun evidence was in plain view to officers standing

at the door); United States v. Scroger, 98 F.3d 1256, 1260 (10th

Cir. 1996) (search justified because police did not create

exigency by knocking on the door of a suspected meth lab where

officers believed there was insufficient probable cause to obtain

a warrant and defendant greeted officers with a meth hot plate in

hand); United States v. Grissett, 925 F.2d 776, 778 (4th Cir.

1991) (search and seizure justified because officers did not

create exigency by approaching hotel room and identifying

themselves before the smell of marijuana indicated the presence

of drugs); see also United States v. Halliman, 923 F.2d 873, 878-

79 (D.C. Cir. 1991) (entry justified where, after knocking,

officer heard a toilet flush, creating reasonable likelihood that

drugs were being destroyed).

     The government emphasizes that the police did not know if

Khut was in the apartment prior to approaching the neighbor and,

on this view, that exigent circumstances did not arise until

after their suspicion of his presence inside the apartment was

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confirmed.   However, the police had more than enough probable

cause to obtain a search warrant for the apartment because five

controlled buys had taken place at that location.         See United

States v. Materas, 2007 U.S. App. LEXIS 8226, at *11 (1st Cir.

2007) (“The controlled buy from [defendant at searched address]

alone provided sufficient probable cause for issuing the search

warrant. Common sense dictates that evidence of [defendant’s]

possession could probably be found in the location where he sold

drugs [a few days previously].”) (citation omitted); United

States v. Genao, 281 F.3d 305, 308 (1st Cir. 2002) (stating that

“a properly conducted controlled buy is formidable evidence to

support a search”).    While the apartment was in his girlfriend’s

name, the police knew Khut probably “lived there” and

occasionally sold drugs from the apartment.4        The fact that the

police harbored some doubt as to Khut’s presence inside the

apartment prior to the neighbor’s confirmation does not save

their search.

     The government alternatively argues that clerk-magistrates

at the Lowell District Court routinely refuse to issue arrest

warrants in drug cases and instruct police to make probable cause

drug arrests.   See Mass. Gen. Laws c. 94C, § 41 (“Section 41").5

     4
     See Hearing Tr. 26:6-7 (Feb. 16. 2007) (“We believed he --
we knew he lived there, but I believe it was in his girlfriend’s
name.”)(statement of Det. Samaras).
     5
     Section 41(b) provides that a “police officer shall have
the authority to arrest without a warrant . . . any person who he
has probable cause to believe has committed or is committing”
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The short answer is that the police twice within 24 hours

received a search warrant from the Lowell Court within 2 to 3

hours of request.    I do not credit this testimony that the clerk

would decline a request for an arrest warrant.         In any event, a

clerks’ practice does not trump the constitutional necessity of

procuring a warrant where an officer anticipates an arrest in a

dwelling.

     Although the government relies on Section 41 to justify the

warrantless entry into a dwelling, there is no caselaw to support

this assertion.   The caselaw that does exist deals only with

searches and arrests that occur in a car, out in the open, or in

an airport.   See, e.g., Commonwealth v. Skea, 470 N.E.2d 385, 398

(Mass. App. Ct. 1984) (automobile); Commonwealth . Wooden, 433

N.E.2d 1234, 1237-38 (Mass. App. Ct. 1982) (public space);

Commonwealth v. Duran, 293 N.E.2d 285, 287-88 (Mass. 1973)

(luggage searched at airport); see also Commonwealth v. Douglas,

503 N.E.2d 28, 30 (Mass. 1987) (rejecting argument that search

warrant was not required to effect search incident to lawful

arrest pursuant to Section 41); Commonwealth v. Huffman,414

N.E.2d 1032, 1035 (Mass. App. Ct. 1981) (explaining that Section

41 “cannot be relied on as a basis for entering without a warrant

residential premises used by a suspect as his home”).          It is well

settled in Massachusetts that the government must possess a valid




listed felonies, including distribution of cocaine.
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arrest warrant to enter a home.      E.g., Commonwealth v. Silva, 802

N.E.2d 535, 539 (Mass. 2004) (citations omitted).         Any

construction of Section 41 which permitted warrantless entries

into homes to effectuate an arrest in a drug case would be

Paytonly unconstitutional.

     Accordingly, the government has failed to meet its burden of

demonstrating a non-manufactured exigency capable of overriding

the Fourth Amendment’s warrant requirement.        The defendant’s

motion to suppress evidence seized at 135 Cross Street is

therefore ALLOWED.

                                  ORDER

     Defendant’s motion to suppress evidence (Docket No. 52) is

ALLOWED.



                                          S/PATTI B. SARIS
                                          United States District Judge




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